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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X                            10/28/2019


In re:                                                                     03-MDL-01570 (GBD)(SN)
         TERRORIST ATTACKS ON                                                AMENDED ORDER
         SEPTEMBER 11, 2001                                               APPROVING NOTICES TO
                                                                          CONFORM, SHORT FORM
                                                                          COMPLAINTS & NOTICES
                                                                             OF AMENDMENT


-----------------------------------------------------------------X

SARAH NETBURN, United States Magistrate Judge:

         The Court has previously issued several orders approving forms and setting procedures

for the filing of new claims against the Kingdom of Saud Arabia (“Saudi Arabia”) and the

Islamic Republic of Iran (“Iran”). See ECF Nos. 3543, 3982, 4010, 4045. This Amended Order

supersedes those orders in their entirety. The parties are directed to adhere to both the letter and

spirit of the procedures outline below. 1

         Notice to Conform. Any plaintiff who has a claim pending in this MDL may adopt the

Consolidated Amended Complaint as to the Kingdom of Saudi Arabia, ECF No. 3463

[hereinafter the CAC], through the filing of a Notice to Conform substantially in the form

attached hereto as Exhibit A. Upon filing a Notice to Conform, the plaintiff’s underlying

complaint shall be deemed amended to include the factual allegations, jurisdictional allegations,

and jury trial demand of the CAC, as well as all causes of action specified in the Notice to

Conform. The amendment effectuated by the Notice to Conform shall relate solely to Saudi

Arabia, and shall not apply to any other defendant, as to which the plaintiff’s underlying


1
 The procedures set forth in this order are identical to those outlined in the Court’s July 10, 2018 Order,
except that the Court has slightly modified the procedure to file a Notice of Amendment.
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complaint and any amendments thereto shall remain controlling. If the underlying complaint of a

plaintiff who files a Notice to Conform does not name Saudi Arabia as a defendant, the plaintiff

shall be deemed to have added Saudi Arabia to his or her constituent case through the filing of

the Notice to Conform. Upon service of the Notice to Conform upon the defendant via ECF, the

amendment of the plaintiff’s underlying case to conform to the CAC shall be deemed to have

been served. Any motion to dismiss or responsive pleading filed by Saudi Arabia in response to

the CAC shall be deemed applicable to all actions in which a Notice to Conform is filed,

regardless of when the Notice to Conform is filed. In addition, by filing a Notice to Conform, a

plaintiff shall be deemed to be bound by all decisions rendered in this MDL that relate to all

actions, regardless of when the Notice to Conform is filed.

       By filing a Notice to Conform, a plaintiff shall not be deemed to have adopted any class-

action allegations set forth in the CAC or waived any right to object to class certification or to

opt out of any certified class. The filing of a Notice to Conform also does not serve as a request

for exclusion from any class that the Court may certify.

       Saudi Arabia Short Form Complaint. Any plaintiff who has not yet filed a claim

against Saudi Arabia, but intends to do so, may initiate an action against Saudi Arabia through

the filing of a Saudi Arabia Short Form Complaint, substantially in the form attached hereto as

Exhibit B. Any such new action initiated through the filing of a Saudi Arabia Short Form

Complaint shall be filed as a new case and designated as related to this MDL. No more than 100

plaintiffs, including estate plaintiffs, may be included in a single Saudi Arabia Short Form

Complaint. All solatium claims must be filed on the same Saudi Arabia Short Form Complaint as

the claims brought by the decedent family member’s estate and must be counted toward the limit

of 100 new plaintiffs.



                                                  2
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       Counsel filing a new action through a Saudi Arabia Short Form Complaint shall submit a

letter to the Honorable George B. Daniels and the Honorable Sarah Netburn, docketed in this

MDL, requesting that the new action be made part of this MDL. Upon filing a Saudi Arabia

Short Form Complaint, a plaintiff shall be deemed to have asserted the factual allegations,

jurisdictional allegations, and jury trial demand of the either the CAC or the Complaint Against

the Kingdom of Saudi Arabia, Ashton v. Kingdom of Saudi Arabia, No. 17-CV-2003

(GBD)(SN) (S.D.N.Y. March 30, 2017), ECF No. 1 [hereinafter the Ashton Saudi Arabia

Complaint], as well as all causes of action specified in the Saudi Arabia Short Form Complaint.

After filing the Saudi Arabia Short Form Complaint via ECF, the filing plaintiff(s) shall timely

submit an appropriate request for waiver of service to counsel for Saudi Arabia. Any motion to

dismiss or responsive pleading filed by Saudi Arabia in response to the CAC or the Ashton Saudi

Arabia Complaint, as applicable, shall be deemed applicable to all actions initiated through a

Saudi Arabia Short Form Complaint, regardless of when the Saudi Arabia Short Form Complaint

is filed. In addition, by filing a Saudi Arabia Short Form Complaint, a plaintiff shall be deemed

to be bound by all decisions rendered in this MDL that relate to all actions, regardless of when

the Saudi Arabia Short Form Complaint is filed.

       By filing a Saudi Arabia Short Form Complaint, a plaintiff shall not be deemed to have

adopted any class-action allegations set forth in the CAC or the Ashton Saudi Arabia Complaint

or waived any right to object to class certification or to opt out of any certified class. The filing

of a Saudi Arabia Short Form Complaint also does not serve as a request for exclusion from any

class that the Court may certify.

       Iran Short Form Complaint. Any plaintiff who has not yet filed a claim against Iran,

but intends to do so, may initiate an action against Iran through the filing of an Iran Short Form



                                                   3
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Complaint, substantially in the form attached hereto as Exhibit C. Any such new action initiated

through the filing of an Iran Short Form Complaint shall be filed as a new case and designated as

related to this MDL. No more than 100 plaintiffs, including estate plaintiffs, may be included in

a single Iran Short Form Complaint. All solatium claims must be filed on the same Iran Short

Form Complaint as the claims brought by the decedent family member’s estate and must be

counted toward the limit of 100 new plaintiffs.

       Counsel filing a new action through an Iran Short Form Complaint shall submit a letter to

the Honorable George B. Daniels and the Honorable Sarah Netburn, docketed in this MDL,

requesting that the new action be made part of this MDL. Upon filing an Iran Short Form

Complaint, a plaintiff shall be deemed to have asserted the factual allegations, jurisdictional

allegations, and jury trial demand of either the Ashton Plaintiffs’ Amended Consolidated

Complaint Against Defendant, the Islamic Republic or Iran, ECF No. 3237 [hereinafter the

Ashton Iran Complaint], or the Amended Complaint, Burnett v. Islamic Republic of Iran, No.

15-CV-9903 (GBD)(SN) (S.D.N.Y. Feb. 8, 2016), ECF No. 53 [hereinafter the Burnett

Complaint], as well as all causes of action specified in the Iran Short Form Complaint. Any

motion to dismiss or responsive pleading filed by Iran in response to the Ashton Iran Complaint

or the Burnett Complaint, as applicable, shall be deemed applicable to all actions initiated

through an Iran Short Form Complaint, regardless of when the Iran Short Form Complaint is

filed. In addition, by filing an Iran Short Form Complaint, a plaintiff shall be deemed to be

bound by all decisions rendered in this MDL that relate to all actions, regardless of when the Iran

Short Form Complaint is filed.

       By filing an Iran Short Form Complaint, a plaintiff shall not be deemed to have adopted

any class-action allegations set forth in the Ashton Iran Complaint or the Burnett Complaint or



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waived any right to object to class certification or to opt out of any certified class. The filing of

an Iran Short Form Complaint also does not serve as a request for exclusion from any class that

the Court may certify.

       Notice of Amendment. A new plaintiff asserting claims for solatium damages with

respect to a deceased family member whose estate previously filed claims against Saudi Arabia

or Iran may be added to the existing case of the decedent’s estate without seeking further leave

from the Court by (1) filing a Notice of Amendment in the form attached hereto as Exhibit D

(Saudi Arabia Notice of Amendment) or Exhibit E (Iran Notice of Amendment) in the existing

civil case of the decedent’s estate (not in the MDL), and then (2) adding the new plaintiff’s name

to the docket of the existing civil case on ECF. Names added onto the docket must be in First

Name Last Name format, with only first letters capitalized (i.e., not written in all capitalized

letters). No more than 25 new plaintiffs may be added to an existing case with a single Notice of

Amendment. Attorneys wishing to add new plaintiffs using this procedure are strongly

encouraged to contact the Clerk of Court and make arrangements to send members of their

technical staff to court-sponsored training regarding the proper protocols for adding new

plaintiffs to existing dockets. Plaintiffs added by this procedure need not re-serve defendants

who have already been served. Any motion previously ruled on by the Court will be considered

to have been filed and decided in the same manner and shall apply with equal force with regard

to the claims of each new plaintiff.

SO ORDERED.



DATED:         October 28, 2019
               New York, New York




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                            EXHIBIT A
     Case 1:03-md-01570-GBD-SN Document 5234 Filed 10/28/19 Page 7 of 33



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X

In re:                                                                03-MDL-1570 (GBD)(SN)

         TERRORIST ATTACKS ON                                        NOTICE TO CONFORM TO
         SEPTEMBER 11, 2001                                          CONSOLIDATED AMENDED
                                                                          COMPLAINT
-----------------------------------------------------------------X

This document relates to: ________________________________________________________,

No. ___________________.

         Plaintiffs in the above-mentioned previously filed case file this Notice to Conform to the

Consolidated Amended Complaint as to the Kingdom of Saudi Arabia, ECF No. 3463, as

permitted and approved by the Court’s Order of October ___, 2019, ECF No. ________. Upon

filing of this Notice to Conform, Plaintiffs’ underlying Complaint, ECF No. ________, is

deemed amended to include the factual allegations, jurisdictional allegations, and jury trial

demand of the Consolidated Amended Complaint, as well as all causes of action specified below.

The amendment effected through this Notice to Conform supplements by incorporation into, but

does not displace, Plaintiffs’ underlying Complaint. This Notice to Conform relates solely to the

Kingdom of Saudi Arabia and does not apply to any other defendant, as to which Plaintiffs’

underlying Complaint and any amendments thereto are controlling.

         Upon filing this Notice to Conform, each Plaintiff is deemed to have adopted all factual

and jurisdictional allegations of the Consolidated Amended Complaint; all prior filings in

connection with the Consolidated Amended Complaint; and all prior Orders and rulings of the

Court in connection with the Consolidated Amended Complaint.




                                                        1
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                                              VENUE

          1.   Plaintiffs’ case is part of the multi-district proceeding In re Terrorist Attacks on

September 11, 2001, 03-MDL-1570 (GBD)(SN), established by the Judicial Panel on

Multidistrict Litigation for coordinated or consolidated pre-trial proceedings in the United States

District Court for the Southern District of New York.

                            IDENTIFICATION OF PLAINTIFFS

          2.   Plaintiffs filing this Notice to Conform are identified in their underlying

Complaint, ECF No. ________, and are incorporated herein by reference.

          3.   Plaintiffs have described their particular injuries and the nexus between those

injuries and the September 11th attacks in their underlying Complaint, which allegations are

incorporated herein by reference.

                                     CAUSES OF ACTION

          4.   Plaintiffs hereby adopt and incorporate herein by reference the following causes

of action set forth in the Consolidated Amended Complaint, ECF No. 3463 (check all that

apply):

               COUNT I – Aiding and Abetting and Conspiring with Al Qaeda to Commit the
               September 11th Attacks upon the United States in violation of 18 U.S.C.
               § 2333(d) (JASTA).

               COUNT II – Aiding and Abetting and Conspiring with Al Qaeda to Commit the
               September 11th Attacks upon the United States in violation of 18 U.S.C.
               § 2333(a).

               COUNT III – Committing Acts of International Terrorism in violation of 18
               U.S.C. § 2333.

               COUNT IV – Wrongful Death.

               COUNT VI – Alien Tort Claims Act.

               COUNT VII – Assault and Battery.


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               COUNT VIII – Conspiracy.

               COUNT IX – Aiding and Abetting.

               COUNT X – Intentional Infliction of Emotional Distress.

               COUNT XII – Liability Pursuant to Restatement (Second) of Torts § 317 and
               Restatement (Third) of Agency § 7.05: Supervising Employees and Agents.

               COUNT XIII – Liability Pursuant to Restatement (Second) of Torts § 317 and
               Restatement (Third) of Agency § 7.05: Hiring, Selecting, and Retaining
               Employees and Agents.

               COUNT XIV – 18 U.S.C. § 1962(a)–(d) – CIVIL RICO.

               COUNT XV – Trespass.

               COUNT XVI – Violations of International Law.

       Plaintiffs’ constituent case shall be deemed subject to any motion to dismiss the

Consolidated Amended Complaint or answer to the Consolidated Amended Complaint filed by

the Kingdom of Saudi Arabia. By way of filing this Notice, Plaintiffs shall not be deemed to

have adopted any class-action allegations set forth in the Consolidated Amended Complaint,

waived any right to object to class certification, or opted out of any certified class. This Notice

also does not serve as a request for exclusion from any class that the Court may certify.



Dated: ____________________



                                                      Respectfully submitted,



                                                      ____________________________________

                                                      COUNSEL FOR PLAINTIFFS




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                             EXHIBIT B
    Case 1:03-md-01570-GBD-SN Document 5234 Filed 10/28/19 Page 11 of 33



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X

In re:
                                                                       03-MDL-1570 (GBD)(SN)
         TERRORIST ATTACKS ON
         SEPTEMBER 11, 2001

-----------------------------------------------------------------X

XXX
XXX,
                                                                      XX-CV-XXXXX (GBD)(SN)
                                            Plaintiff(s),
                                                                     SAUDI ARABIA SHORT FORM
                          -against-                                   COMPLAINT AND DEMAND
                                                                        FOR TRIAL BY JURY
KINGDOM OF SAUDI ARABIA,

                                            Defendant.

-----------------------------------------------------------------X

         Plaintiffs named herein by and through the undersigned counsel file this Short Form

Complaint against Defendant, the Kingdom of Saudi Arabia, arising out of the September 11,

2001 terrorist attacks (“September 11, 2001 Terrorist Attacks”), as permitted and approved by

the Court’s Order of October ___, 2019, ECF No. _________. Each Plaintiff incorporates by

reference the specific allegations, as indicated below, of (a) the Consolidated Amended

Complaint as to the Kingdom of Saudi Arabia, ECF No. 3463, or (b) the Complaint Against the

Kingdom of Saudi Arabia, Ashton v. Kingdom of Saudi Arabia, No. 17-CV-2003 (GBD)(SN)

(S.D.N.Y. Mar. 30, 2017), ECF No. 1.

         Upon filing this Saudi Arabia Short Form Complaint, each Plaintiff is deemed to have

adopted all factual and jurisdictional allegations of the complaint that has been joined as



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specified below; all prior filings in connection with that complaint; and all prior Orders and

rulings of the Court in connection with that complaint.

                                               VENUE

       1.      Venue in this district is proper pursuant to 28 U.S.C. §§ 1391(b)(2) and

1391(f)(1), as a substantial part of the events giving rise to the claims asserted herein occurred in

this district. Venue is also proper in this district pursuant to 18 U.S.C. § 2334(a).

                                         JURISDICTION

       2.      Jurisdiction is premised on the grounds set forth in the complaints specified

below, and further, jurisdiction of this Saudi Arabia Short Form Complaint is premised upon and

applicable to all defendants in this action:

               28 U.S.C. § 1605(a)(5) (non-commercial tort exception)

               28 U.S.C. § 1605B (Justice Against Sponsors of Terrorism Act)

               28 U.S.C. § 1330 (actions against foreign states)

               Other (set forth below the basis of any additional ground for jurisdiction and
               plead such in sufficient detail as per the FRCP): ___________________________

               __________________________________________________________________

               _________________________________________________________________.

                                      CAUSES OF ACTION

       3.      Each Plaintiff hereby adopts and incorporates herein by reference the following

factual allegations, jurisdictional allegations, and jury trial demand in the following complaint

[check only one complaint] and the following causes of action set forth in that complaint:




                                                  2
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        Consolidated Amended Complaint as to the Kingdom of Saudi Arabia, ECF
        No. 3463 (check all causes of action that apply)

              COUNT I – Aiding and Abetting and Conspiring with Al Qaeda to
              Commit the September 11th Attacks upon the United States in violation of
              18 U.S.C. § 2333(d) (JASTA).

              COUNT II – Aiding and Abetting and Conspiring with Al Qaeda to
              Commit the September 11th Attacks upon the United States in violation of
              18 U.S.C. § 2333(a).

              COUNT III – Committing Acts of International Terrorism in violation of
              18 U.S.C. § 2333.

              COUNT IV – Wrongful Death.

              COUNT VI – Alien Tort Claims Act.

              COUNT VII – Assault and Battery.

              COUNT VIII – Conspiracy.

              COUNT IX – Aiding and Abetting.

              COUNT X – Intentional Infliction of Emotional Distress.

              COUNT XII – Liability Pursuant to Restatement (Second) of Torts § 317
              and Restatement (Third) of Agency § 7.05: Supervising Employees and
              Agents.

              COUNT XIII – Liability Pursuant to Restatement (Second) of Torts § 317
              and Restatement (Third) of Agency § 7.05: Hiring, Selecting, and
              Retaining Employees and Agents.

              COUNT XIV – 18 U.S.C. § 1962(a)–(d) – CIVIL RICO.

              COUNT XV – Trespass.

              COUNT XVI – Violations of International Law.

        Complaint Against the Kingdom of Saudi Arabia, Ashton v. Kingdom of
        Saudi Arabia, No. 17-CV-2003 (GBD)(SN) (S.D.N.Y. Mar. 30, 2017), ECF
        No. 1 (check all causes of action that apply)

              First Cause of Action to Recover Wrongful Death Damages Pursuant to 28
              U.S.C. § 1605B (the Justice Against Sponsors of Terrorism Act or
              JASTA) and 18 U.S.C. § 2333 et seq. (the Anti-Terrorism Act or ATA)
                                      3
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                      First Cause of Action to Recover Personal Injury Damages Pursuant to 28
                      U.S.C. § 1605B (the Justice Against Sponsors of Terrorism Act or
                      JASTA) and 18 U.S.C. § 2333 et seq. (the Anti-Terrorism Act or ATA)

                      Second Cause of Action for Wrongful Death Damages Pursuant to State
                      Tort Law

                      Second Cause of Action for Personal Injury Damages Pursuant to State
                      Tort Law

                      Third Cause of Action for Wrongful Death Damages Pursuant to the Alien
                      Tort Claims Act

                      Third Cause of Action for Personal Injury Damages Pursuant to the Alien
                      Tort Claims Act

               Each Plaintiff asserts the following additional theories and/or Causes of Action
               against the Kingdom of Saudi Arabia: ___________________________________

               __________________________________________________________________

               _________________________________________________________________.

                            IDENTIFICATION OF PLAINTIFFS

       4.      The following allegations and information are alleged on behalf of each

individual who is bringing this claim, as indicated on Appendix 1 to this Saudi Arabia Short

Form Complaint, herein referred to as “Plaintiffs.”

               a. The citizenship/nationality of each Plaintiff is indicated at Appendix 1 to this
                  Saudi Arabia Short Form Complaint.

               b. Plaintiff is entitled to recover damages on the causes of action set forth in this
                  Saudi Arabia Short Form Complaint.

               c. As indicated at Appendix 1, Plaintiff (i) is the estate representative of
                  someone who was killed as a result of the September 11, 2001 Terrorist
                  Attacks; (ii) is the surviving immediate family member of someone who was
                  killed as a result of the September 11, 2001 Terrorist Attacks; and/or (iii)
                  suffered physical injuries as a result of the September 11, 2001 Terrorist
                  Attacks.

               d. For those Plaintiffs with personal injury claims, as indicated in Appendix 1,
                  on or after September 11, 2001, said Plaintiff was present at the Pentagon
                                                 4
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                   and/or the World Trade Center site and/or its surroundings and/or lower
                   Manhattan and/or at an area wherein he/she was exposed to toxins as a result
                   of the terrorist attacks and was exposed to toxins from the attacks, and/or was
                   otherwise injured, and/or as otherwise alleged, as stated specifically in
                   Appendix 1.

               e. For those plaintiffs with personal injury and/or wrongful death claims, as
                  indicated in Appendix 1, as a direct, proximate and foreseeable result of
                  Defendant’s actions or inactions, Plaintiff or his or her decedent suffered
                  bodily injury and/or death, and consequently economic and other losses,
                  including but not limited to pain and suffering, emotional distress,
                  psychological injuries, and loss of enjoyment of life, and/or as described in the
                  Saudi Arabia Short Form Complaint, and/or as otherwise may be specified in
                  subsequent discovery proceedings, and/or as otherwise alleged in Appendix 1.

               f. The name, relationship to the injured and/or deceased September 11 victim,
                  residency, citizenship/nationality, and the general nature of the claim for each
                  plaintiff asserting wrongful death and/or solatium claims is listed on the
                  attached Appendix 1, and is incorporated herein as allegations, with all
                  allegations of the related complaints, as specified above, deemed alleged as to
                  each Plaintiff.

                          IDENTIFICATION OF THE DEFENDANT

       5.      The only Defendant named in this Saudi Arabia Short Form Complaint is the

Kingdom of Saudi Arabia.

                              NO WAIVER OF OTHER CLAIMS

       6.      By filing this Saudi Arabia Short Form Complaint, Plaintiff(s) is/are not waiving

any right to file suit against any other potential defendants or parties.

       7.      By filing this Saudi Arabia Short Form Complaint, Plaintiff(s) are not opting out

of any class that the Court may certify in the future.

                                         JURY DEMAND

       8.      Each Plaintiff hereby demands a trial by jury as to the claims in this action.




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       WHEREFORE, Plaintiffs pray for relief and judgment against Defendant as set forth in

this Saudi Arabia Short Form Complaint as appropriate.



Dated: ____________________



                                                  Respectfully submitted,



                                                  ____________________________________

                                                  COUNSEL FOR PLAINTIFFS




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                                                  APPENDIX 1

        Each line below is deemed an allegation, incorporating the allegations, language, and

references within the Saudi Arabia Short Form Complaint to which this Appendix 1 is appended

and shall be referenced as Allegation 1 of Appendix 1 to the Saudi Arabia Short Form

Complaint, Allegation 2 of Appendix 1 to the Saudi Arabia Short Form Complaint, etc.

     Plaintiff’s     Plaintiff’s   Plaintiff’s     9/11         Plaintiff’s    9/11           Nature of
     Name            State of      Citizenship/    Decedent’s   Relationship   Decedent’s     Claim
     (alphabetical   Residency     Nationality     Full Name    to 9/11        Citizenship/   (wrongful
     by last name)   at Filing     on 9/11/2001                 Decedent       Nationality    death,
                     (or death)                                                on 9/11/2001   solatium,
                                                                                              personal
                                                                                              injury)
 1

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                            EXHIBIT C
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X

In re:
                                                                      03-MDL-1570 (GBD)(SN)
         TERRORIST ATTACKS ON
         SEPTEMBER 11, 2001

-----------------------------------------------------------------X

XXX
XXX,

                                            Plaintiff(s),            XX-CV-XXXXX (GBD)(SN)

                          -against-                                    IRAN SHORT FORM
                                                                     COMPLAINT AND DEMAND
ISLAMIC REPUBLIC OF IRAN,                                              FOR TRIAL BY JURY

                                            Defendant.

-----------------------------------------------------------------X

         Plaintiffs named herein by and through the undersigned counsel file this Short Form

Complaint against Defendant, the Islamic Republic of Iran (“Iran”), arising out of the September

11, 2001 terrorist attacks (“September 11, 2001 Terrorist Attacks”), as permitted and approved

by the Court’s Order of October ___, 2019, ECF No. _________. Each Plaintiff incorporates by

reference the specific allegations, as indicated below, of (a) the Federal Insurance and Ashton

Plaintiffs’ Amended Consolidated Complaint Against Defendant, the Islamic Republic of Iran,

ECF No. 3237, or (b) the Amended Complaint, Burnett v. Islamic Republic of Iran, No. 15-CV-

9903 (GBD)(SN) (S.D.N.Y. Feb. 8, 2016), ECF No. 53.

         Upon filing this Iran Short Form Complaint, each Plaintiff is deemed to have adopted all

factual and jurisdictional allegations of the complaint that has been joined as specified below; all



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causes of action contained within that complaint; all prior filings in connection with that

complaint; and all prior Orders and rulings of the Court in connection with that complaint.

       Additionally, each Plaintiff incorporates the factual allegations and findings contained in

those pleadings and orders filed at Havlish v. Bin Laden, No. 1:03-CV-9848 (GBD)(SN)

(S.D.N.Y.), ECF Nos. 263, 294, 295; In re Terrorist Attacks on September 11, 2001, 03-MDL-

1570 (GBD)(SN) (S.D.N.Y.), ECF Nos. 2430, 2431, 2432, 2433, 2473, 2515, 2516; and

evidence submitted at the proceedings before the Honorable George B. Daniels on December 15,

2011 (ECF No. 2540).

                                              VENUE

       1.      Venue in this district is proper pursuant to 28 U.S.C. §§ 1391(b)(2) and

1391(f)(1), as a substantial part of the events giving rise to the claims asserted herein occurred in

this district. Venue is also proper in this district pursuant to 18 U.S.C. § 2334(a).

                                         JURISDICTION

       2.      Jurisdiction against the Islamic Republic of Iran is premised on the grounds set

forth in the complaints specified below, including but not limited to 28 U.S.C. § 1605(a) (tort

exception to the Foreign Sovereign Immunities Act), 28 U.S.C. § 1605A (terrorism exception to

the Foreign Sovereign Immunities Act), and 28 U.S.C. § 1605B (Justice Against Sponsors of

Terrorism Act).

                                      CAUSES OF ACTION

       3.      Each Plaintiff hereby adopts and incorporates by reference all factual allegations,

jurisdictional allegations, and jury trial demand, including all causes of action against the Islamic

Republic of Iran, as set forth in the following complaint [check only one complaint]:

               Federal Insurance and Ashton Plaintiffs’ Amended Consolidated Complaint
               Against Defendant, the Islamic Republic of Iran, ECF No. 3237
                                                  2
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        Amended Complaint, Burnett v. Islamic Republic of Iran, No. 15-CV-9903
        (GBD)(SN) (S.D.N.Y. Feb. 8, 2016), ECF No. 53

  4.    In addition, each Plaintiff hereby asserts the following additional causes of action:

        Iran Short Form Complaint First Cause of Action to Recover Wrongful Death
        Damages Pursuant to 28 U.S.C. § 1605B (the Justice Against Sponsors of
        Terrorism Act or JASTA) and 18 U.S.C. § 2333 et seq. (the Anti-Terrorism Act or
        ATA)

        As a factual basis for this cause of action, Plaintiff(s) allege that the allegations
        set forth in the complaint noted above, as well as the allegations set forth in the
        Havlish filings noted above, establish that, as set forth herein, the injuries they
        suffered arose from the September 11, 2001 Terrorist Attacks; Defendant’s role in
        the September 11, 2001 Terrorist Attacks constituted acts of international
        terrorism that violated state and federal laws pursuant to 18 U.S.C. § 2331; that
        the September 11, 2001 Terrorist Attacks constituted acts of international
        terrorism committed, planned or authorized by an organization that had been
        designated as a foreign terrorist organization under 8 U.S.C. § 1189; that the
        September 11, 2001 Terrorist Attacks violated state and federal laws pursuant to
        18 U.S.C. § 2331; and that Defendant aided and abetted, by knowingly providing
        substantial assistance, with others and/or conspired with others who committed an
        act or acts of international terrorism in violation of 18 U.S.C. § 2333 et seq.

        Iran Short Form Complaint First Cause of Action to Recover Personal Injury
        Damages Pursuant to 28 U.S.C. § 1605B (the Justice Against Sponsors of
        Terrorism Act or JASTA) and 18 U.S.C. § 2333 et seq. (the Anti-Terrorism Act or
        ATA)

        As a factual basis for this cause of action, Plaintiff(s) allege that the allegations
        set forth in the complaint noted above, as well as the allegations set forth in the
        Havlish filings noted above, establish that, as set forth herein, the injuries they
        suffered arose from the September 11, 2001 Terrorist Attacks; Defendant’s role in
        the September 11, 2001 Terrorist Attacks constituted acts of international
        terrorism that violated state and federal laws pursuant to 18 U.S.C. § 2331; that
        the September 11, 2001 Terrorist Attacks constituted acts of international
        terrorism committed, planned or authorized by an organization that had been
        designated as a foreign terrorist organization under 8 U.S.C. § 1189; that the
        September 11, 2001 Terrorist Attacks violated state and federal laws pursuant to
        18 U.S.C. § 2331; and that Defendant aided and abetted, by knowingly providing
        substantial assistance, with others and/or conspired with others who committed an
        act or acts of international terrorism in violation of 18 U.S.C. § 2333 et seq.




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                         IDENTIFICATION OF NEW PLAINTIFFS

       5.      The following allegations and information are alleged on behalf of each

individual who is bringing this claim, as indicated on Appendix 1 to this Iran Short Form

Complaint, herein referred to as “Plaintiffs.”

               a. The citizenship/nationality of each Plaintiff is indicated at Appendix 1 to this
                  Iran Short Form Complaint.

               b. Plaintiff is entitled to recover damages on the causes of action set forth in the
                  complaint identified above, as joined by this Iran Short Form Complaint, and
                  as further asserted within this Iran Short Form Complaint.

               c. As indicated at Appendix 1, Plaintiff (i) is the estate representative of
                  someone who was killed as a result of the September 11, 2001 Terrorist
                  Attacks; (ii) is the surviving immediate family member of someone who was
                  killed as a result of the September 11, 2001 Terrorist Attacks; and/or (iii)
                  suffered physical injuries as a result of the September 11, 2001 Terrorist
                  Attacks.

               d. For those plaintiffs with personal injury claims, as indicated in Appendix 1, on
                  or after September 11, 2001, said Plaintiff was present at the Pentagon and/or
                  the World Trade Center site and/or its surroundings and/or lower Manhattan
                  and/or at an area wherein he/she was exposed to toxins as a result of the
                  terrorist attacks and was exposed to toxins from the attacks, and/or was
                  otherwise injured, and/or as otherwise alleged, as stated specifically in
                  Appendix 1.

               e. For those plaintiffs with personal injury and/or wrongful death claims, as
                  indicated in Appendix 1, as a direct, proximate and foreseeable result of
                  Defendant’s actions or inactions, Plaintiff or his or her decedent suffered
                  bodily injury and/or death, and consequently economic and other losses,
                  including but not limited to pain and suffering, emotional distress,
                  psychological injuries, and loss of enjoyment of life, and/or as described in the
                  Iran Short Form Complaint, and/or as otherwise may be specified in
                  subsequent discovery proceedings, and/or as otherwise alleged in Appendix 1.

               f. The name, relationship to the injured and/or deceased September 11 victim,
                  residency, citizenship/nationality, and the general nature of the claim for each
                  plaintiff asserting wrongful death and/or solatium claims is listed on the
                  attached Appendix 1, and is incorporated herein as allegations, with all
                  allegations of the related complaints, as specified above, deemed alleged as to
                  each Plaintiff.


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                          IDENTIFICATION OF THE DEFENDANT

       6.      The only Defendant named in this Iran Short Form Complaint is the Islamic

Republic of Iran.

                              NO WAIVER OF OTHER CLAIMS

       7.      By filing this Iran Short Form Complaint, Plaintiff(s) is/are not waiving any right

to file suit against any other potential defendants or parties.

       8.      By filing this Iran Short Form Complaint, Plaintiff(s) are not opting out of any

class that the Court may certify in the future.

                                         JURY DEMAND

       9.      Each Plaintiff hereby demands a trial by jury as to the claims in this action.



       WHEREFORE, Plaintiffs pray for relief and judgment against Defendant as set forth in

this Iran Short Form Complaint as appropriate.



Dated: ____________________



                                                       Respectfully submitted,



                                                       ____________________________________

                                                       COUNSEL FOR PLAINTIFFS




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                                                  APPENDIX 1

        Each line below is deemed an allegation, incorporating the allegations, language, and

references within the Iran Short Form Complaint to which this Appendix 1 is appended and shall

be referenced as Allegation 1 of Appendix 1 to the Iran Short Form Complaint, Allegation 2 of

Appendix 1 to the Iran Short Form Complaint, etc.

     Plaintiff’s     Plaintiff’s   Plaintiff’s     9/11         Plaintiff’s    9/11           Nature of
     Name            State of      Citizenship/    Decedent’s   Relationship   Decedent’s     Claim
     (alphabetical   Residency     Nationality     Full Name    to 9/11        Citizenship/   (wrongful
     by last name)   at Filing     on 9/11/2001                 Decedent       Nationality    death,
                     (or death)                                                on 9/11/2001   solatium,
                                                                                              personal
                                                                                              injury)
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                            EXHIBIT D
    Case 1:03-md-01570-GBD-SN Document 5234 Filed 10/28/19 Page 26 of 33



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X

In re:
                                                                      03-MDL-1570 (GBD)(SN)
         TERRORIST ATTACKS ON
         SEPTEMBER 11, 2001                                              SAUDI ARABIA
                                                                     NOTICE OF AMENDMENT
-----------------------------------------------------------------X

This document relates to: ________________________________________________________,

No. ___________________.

         Plaintiffs file this Notice of Amendment with respect to the underlying Complaint in the

above-referenced matter, ECF No. _________, as permitted and approved by the Court’s Order

of October ___, 2019, ECF No. _________. Upon the filing of this Notice of Amendment, the

underlying Complaint is deemed amended to add the individual(s) listed below (the “New

Plaintiff(s)”) as plaintiff(s) raising claims against the Kingdom of Saudi Arabia. The underlying

Complaint is deemed amended to include the factual allegations, jurisdictional allegations, and

jury trial demand, as indicated below, of (a) the Consolidated Amended Complaint as to the

Kingdom of Saudi Arabia, ECF No. 3463, or (b) the Complaint Against the Kingdom of Saudi

Arabia, Ashton v. Kingdom of Saudi Arabia, No. 17-CV-2003 (GBD)(SN) (S.D.N.Y. Mar. 30,

2017), ECF No. 1, as well as all causes of action specified below. The amendment effected

through this Notice of Amendment supplements by incorporation into, but does not displace, the

underlying Complaint. This Notice of Amendment relates solely to the Kingdom of Saudi Arabia

and does not apply to any other defendant.

         Upon filing this Saudi Arabia Notice of Amendment, each New Plaintiff is deemed to

have adopted all factual and jurisdictional allegations of the complaint that has been joined as




                                                        1
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specified below; all prior filings in connection with that complaint; and all prior Orders and

rulings of the Court in connection with that complaint.

                                     CAUSES OF ACTION

       Each New Plaintiff hereby adopts and incorporates herein by reference the following

factual allegations, jurisdictional allegations, and jury trial demand in the following complaint

[check only one complaint] and the following causes of action set forth in that complaint:

               Consolidated Amended Complaint as to the Kingdom of Saudi Arabia, ECF
               No. 3463 (check all causes of action that apply)

                       COUNT I – Aiding and Abetting and Conspiring with Al Qaeda to
                       Commit the September 11th Attacks upon the United States in violation of
                       18 U.S.C. § 2333(d) (JASTA).

                       COUNT II – Aiding and Abetting and Conspiring with Al Qaeda to
                       Commit the September 11th Attacks upon the United States in violation of
                       18 U.S.C. § 2333(a).

                       COUNT III – Committing Acts of International Terrorism in violation of
                       18 U.S.C. § 2333.

                       COUNT IV – Wrongful Death.

                       COUNT VI – Alien Tort Claims Act.

                       COUNT VII – Assault and Battery.

                       COUNT VIII – Conspiracy.

                       COUNT IX – Aiding and Abetting.

                       COUNT X – Intentional Infliction of Emotional Distress.

                       COUNT XII – Liability Pursuant to Restatement (Second) of Torts § 317
                       and Restatement (Third) of Agency § 7.05: Supervising Employees and
                       Agents.

                       COUNT XIII – Liability Pursuant to Restatement (Second) of Torts § 317
                       and Restatement (Third) of Agency § 7.05: Hiring, Selecting, and
                       Retaining Employees and Agents.

                       COUNT XIV – 18 U.S.C. § 1962(a)–(d) – CIVIL RICO.

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              COUNT XV – Trespass.

              COUNT XVI – Violations of International Law.

        Complaint Against the Kingdom of Saudi Arabia, Ashton v. Kingdom of
        Saudi Arabia, No. 17-CV-2003 (GBD)(SN) (S.D.N.Y. Mar. 30, 2017), ECF
        No. 1 (check all causes of action that apply)

              First Cause of Action to Recover Wrongful Death Damages Pursuant to 28
              U.S.C. § 1605B (the Justice Against Sponsors of Terrorism Act or
              JASTA) and 18 U.S.C. § 2333 et seq. (the Anti-Terrorism Act or ATA)

              First Cause of Action to Recover Personal Injury Damages Pursuant to 28
              U.S.C. § 1605B (the Justice Against Sponsors of Terrorism Act or
              JASTA) and 18 U.S.C. § 2333 et seq. (the Anti-Terrorism Act or ATA)

              Second Cause of Action for Wrongful Death Damages Pursuant to State
              Tort Law

              Second Cause of Action for Personal Injury Damages Pursuant to State
              Tort Law

              Third Cause of Action for Wrongful Death Damages Pursuant to the Alien
              Tort Claims Act

              Third Cause of Action for Personal Injury Damages Pursuant to the Alien
              Tort Claims Act




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                          IDENTIFICATION OF NEW PLAINTIFFS

       Each New Plaintiff is or was a survivor of a person who died due to the terrorist attacks

of September 11, 2001. For each New Plaintiff, the following chart lists the New Plaintiff’s

name, the New Plaintiff’s residency and nationality, the name of the New Plaintiff’s deceased

family member, the New Plaintiff’s relationship to the decedent, and the paragraph(s) of the

underlying Complaint discussing the decedent and/or the decedent’s estate.

     New Plaintiff’s      New           New Plaintiff’s   9/11           New Plaintiff’s   Paragraphs
     Name (alphabetical   Plaintiff’s   Citizenship/      Decedent’s     Relationship to   of Complaint
     by last name)        State of      Nationality on    Name           9/11 Decedent     Discussing
                          Residency     9/11/2001                                          9/11
                          at Filing                                                        Decedent
                          (or death)
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Dated: ____________________



                                                          Respectfully submitted,



                                                          ____________________________________

                                                          COUNSEL FOR PLAINTIFFS




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                             EXHIBIT E
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X

In re:
                                                                      03-MDL-1570 (GBD)(SN)
         TERRORIST ATTACKS ON
         SEPTEMBER 11, 2001                                               IRAN NOTICE OF
                                                                            AMENDMENT
-----------------------------------------------------------------X

This document relates to: ________________________________________________________,

No. ___________________.

         Plaintiffs file this Notice of Amendment with respect to the underlying Complaint in the

above-referenced matter, ECF No. _________, as permitted and approved by the Court’s Order

of October ___, 2019, ECF No. _________. Upon the filing of this Notice of Amendment, the

underlying Complaint is deemed amended to add the individual(s) listed below (the “New

Plaintiff(s)”) as plaintiff(s) raising claims against the Islamic Republic of Iran. The underlying

Complaint is deemed amended to include the allegations, as indicated below, of (a) the Federal

Insurance and Ashton Plaintiffs’ Amended Consolidated Complaint Against Defendant, the

Islamic Republic of Iran, ECF No. 3237, or (b) the Amended Complaint, Burnett v. Islamic

Republic of Iran, No. 15-CV-9903 (GBD)(SN) (S.D.N.Y. Feb. 8, 2016), ECF No. 53. The

amendment effected through this Notice of Amendment supplements by incorporation into, but

does not displace, the underlying Complaint. This Notice of Amendment relates solely to the

Islamic Republic of Iran and does not apply to any other defendant.

         Upon filing this Iran Notice of Amendment, each New Plaintiff is deemed to have

adopted all factual and jurisdictional allegations of the complaint that has been joined as

specified below; all causes of action contained within that complaint; all prior filings in




                                                        1
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connection with that complaint; and all prior Orders and rulings of the Court in connection with

that complaint.

       Additionally, each New Plaintiff incorporates the factual allegations and findings

contained in those pleadings and orders filed at Havlish v. Bin Laden, No. 1:03-CV-9848

(GBD)(SN) (S.D.N.Y.), ECF Nos. 263, 294, 295; In re Terrorist Attacks on September 11, 2001,

03-MDL-1570 (GBD)(SN) (S.D.N.Y.), ECF Nos. 2430, 2431, 2432, 2433, 2473, 2515, 2516;

and evidence submitted at the proceedings before the Honorable George B. Daniels on December

15, 2011 (ECF No. 2540).

                                      CAUSES OF ACTION

       Each New Plaintiff hereby adopts and incorporates herein by reference all factual

allegations, jurisdictional allegations, and jury trial demand, including all causes of action

against Iran, as set forth in the following complaint [check only one complaint]:

               Federal Insurance and Ashton Plaintiffs’ Amended Consolidated Complaint
               Against Defendant, the Islamic Republic of Iran, ECF No. 3237

               Amended Complaint, Burnett v. Islamic Republic of Iran, No. 15-CV-9903
               (GBD)(SN) (S.D.N.Y. Feb. 8, 2016), ECF No. 53




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                          IDENTIFICATION OF NEW PLAINTIFFS

       Each New Plaintiff is or was a survivor of a person who died due to the terrorist attacks

of September 11, 2001. For each New Plaintiff, the following chart lists the New Plaintiff’s

name, the New Plaintiff’s residency and nationality, the name of the New Plaintiff’s deceased

family member, the New Plaintiff’s relationship to the decedent, and the paragraph(s) of the

underlying Complaint discussing the decedent and/or the decedent’s estate.

     New Plaintiff’s      New           New Plaintiff’s   9/11           New Plaintiff’s   Paragraphs
     Name (alphabetical   Plaintiff’s   Citizenship/      Decedent’s     Relationship to   of Complaint
     by last name)        State of      Nationality on    Name           9/11 Decedent     Discussing
                          Residency     9/11/2001                                          9/11
                          at Filing                                                        Decedent
                          (or death)
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Dated: ____________________



                                                          Respectfully submitted,



                                                          ____________________________________

                                                          COUNSEL FOR PLAINTIFFS




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